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                  IN THE UNITED STATES DISTRICT COJ'                                   U.S.D.G. - Atlanta

                FOR THE NORTHERN DISTRICT OF GEOR IA
                                                                                      NOV ·\ 6 20'21
                       - - - - - - - DIVISION

(Print your full name)                                                          -.j

                  Plaintiff pro se,                   CIVIL ACTION FILE NO.


      V.

                                                         (to be assigned by Clerk)




 (Print full name of each defendant; an
 employer is usually the defendant)
                  Defendant( s).


     PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                                Claims and Jurisdiction

1.     This employment discrimination lawsuit is brought under (check only those
       that apply):

           ✓         Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et
                     seq., for employment discrimination on the basis of race, color,
                     religion, sex, or national origin, or retaliation for exercising rights
                     under this statute.

                            NOTE: To sue under Title VII, you generally must have
                            received a notice of right-to-sue letter from the Equal
                            Employment Opportunity Commission ("EEOC").

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                  Age Discrimination in Employment Act of 1967, 29 U.S.C. §§
                  621 et seq., for employment discrimination against persons age 40
                  and over, or retaliation for exercising rights under this statute.

                        NOTE: To sue under the Age Discrimination in
                        Employment Act, you generally must first file a charge of
                        discrimination with the EEOC.


                  Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                  seq .. for employment discrimination on the basis of disability, or
                  retaliation for exercising rights under this statute.

                         NOTE: To sue under the Americans With Disabilities Act,
                         you generally must have received a notice of right-to-sue
                         letter from the EEOC.


       ✓          Other (describe)      ADA 4b \) .S -L. , St'.L- \ 3\? 2.
                                                   1


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2.   This Court has subject matter jurisdiction over this case under the above-listed
     statutes and under 28 U.S.C. §§ 1331 and 1343.




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                                     Parties

3.   Plaintiff.   Print your full name and mailing address below:

     Name

     Address



4.   Defendant(s).      Print below the name and address of each defendant listed
                        on page 1 of this form:

     Name
     Address

                     A4tllV\ tr>.. 0A 30.3 S1
     Name
     Address



     Name
     Address



                              Location and Time

5.   If the alleged discriminatory conduct occurred at a location different from the
     address provided for defendant( s), state where that discrimination occurred:



        -eMCL\\


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6.   When did the alleged discrimination occur? (State date or time period)




                          Administrative Procedures

7.   Did you file a charge of discrimination against defendant( s) with the EEOC or
     any other federal agency?          /    Yes          _ _ No

           If you checked "Yes," attach a copy of the charge to this complaint.


8.   Have you received a Notice of Right-to-Sue letter from the EEOC?

       /   Yes          - - No
           If you checked "Yes," attach a copy of that letter to this complaint and
           state the date on which you received that letter:



9.   If you are suing for age discrimination, check one of the following:

                 60 days or more have elapsed since I filed my charge of age
                 discrimination with the EEOC

                 Less than 60 days have passed since I filed my charge of age
                 discrimination with the EEOC




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10.   If you were employed by an agency of the State of Georgia or unsuccessfully
      sought employment with a State agency, did you file a· complaint against
      defendant(s) with the Georgia Commission on Equal Opportunity?

      - - Yes                   No               · / Not applicable, because I was
                                              not an employee of, or applicant with,
                                              a State agency.

            If you checked "Yes," attach a copy of the complaint you filed with the
            Georgia Commission on Equal Opportunity and describe below what
            happened with it (i.e., the complaint was dismissed, there was a hearing
            before a special master, or there was an appeal to Superior Court):




11.   If you were employed by a Federal agency or unsuccessfully sought
      employment with a Federal agency, did you complete the administrative
      process established by that agency for persons alleging denial of equal
      employment opportunity?

      - - Yes                   No              /    Not applicable, because I was
                                              not an employee of, or applicant with,
                                              a Federal agency.

            If you checked "Yes," describe below what happened m that
            administrative process:




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                               Nature of the Case

12.   The conduct complained about in this lawsuit involves (check only those that
      apply):

                  failure to hire me
                  failure to promote me
                  demotion
                  reduction in my wages
                  working under terms and conditions of employment that differed
                  from similarly situated employees
                  harassment
        ✓         retaliation
       ✓          termination of my employment
        ✓         failure to accommodate my disability
       ✓          other (please specify) hti \ V'( t- fo ft -\v n, YV\..(___ flJ
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13.   I believe that I was discriminated against because of (check only those that
      apply):

       ✓          my race or color, which is _...!6~\CM.;='-1-K=----------
                  my religion, which is _ _ _ _ _ ___;__ _ _ _ _ __
                  my sex (gender), which is              male       female
                  my national origin, which is _ _ _ _ _ _ _ _ _ _ _ __
                  my age (my date of birth is _ _ _ _ _ _ _ _ _ _ ____,
                  my disability or perceived disability, which is:
                   {rux,~\ Htu,\fu \ Ot~(-eSS\0:0
        ✓         my opposition to a practice ofmy employer that I believe violated
                  the federal anti-discrimination laws or my participation in an
                  EEOC investigation

                  other (please specify)     ~v1J.\-tl:M \::ltaJfu lnfvrl'Y\lth'un



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14.     Write below, as clearly as possible, the essential facts of your claim(s).
        Describe specifically the conduct that you believe was discriminatory or
        retaliatory and how each defendant was involved. Include any facts which
        show that the actions you are complaining about were discriminatory or
        retaliatory. Take time to organize your statements; you may use numbered
        paragraphs if you find that helpful. Do not make legal arguments or cite cases
        or statutes.




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      ·Rb(\H.LA_d) Ui1::\ Ck.P.-\trc     (Db')~\'!JO')~ W\~ l\\\ l WQ5        qsuo\ jv.
(Attach no more than five additional sheets if necessary; type or write legibly only on
one side of a page.)


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15.   Plaintiff                   still works for defendant( s)
                                  no longer works for defendant( s) or was not hired


16.   If this is a disability-related claim, did defendant( s) deny a request for
      reasonable accommodation?          ✓ Yes          _ _ No


            If you checked "Yes," please explain:             {-\::,   C>-.,   ftO\.Sov\ Cl \?"ll
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      If your case goes io trial, it will be heard by a judge unless you elect a jury
      trial. Do you request a jury trial?        ✓ Yes _ _ No



                                  Request for Relief

As relief from the allegations of discrimination and/or retaliation stated above,
plaintiff prays that the Court grant the following relief ( check any that apply):

                   Defendant(s) be directed to _ _ _ _ _ _ _ _ _ _ __


        ✓          Money damages (list amounts) -=4\,_,._,\'--t1.....
                                                                 U=O_O+l--"-0--=-b=O_ _ _ _ __


                   Costs and fees involved in litigating this case


        ✓          Such other relief as my be appropriate




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           PLEASE READ BEFORE SIGNING THIS COMPLAINT

Before you sign this Complaint and file it with the Clerk, please review Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions of Rule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant(s ). Finally, ifthe defendant(s) is the prevailing party in this
lawsuit, costs (other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


             Signed, this    \\   ~   day of    No\J·V!\I\ ~                           , 20   t-- \



                                          (Signature of plaintiff pro se)


                                          (Printed name of plaintiff prose)

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                                          ( street address)


                                          (City, State, and zip code)

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                                          ( email address)


                                          (telephone number)




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EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Maron Berhe                                                                    From:    Atlanta District Office
       2591 Piedmont Rd N.E.                                                                   100 Alabama Street, S.W.
       #1418                                                                                   Suite 4R30
       Atlanta, GA 30324                                                                       Atlanta, GA 30303



       D                    On behalf of person(s) aggrieved whose identity is
                          . CONFIDENTIAL (29 CFR §1601.l(a))
EEOC Charge No.                                EEOC Representative                                                   Telephone No.

                                               Robyn Conley,
410-2020-02548                                 Investigator                                                          (404) 562-6856
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       D         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


       D         Your allegations did not involve a disability as defined by the Americans With Disabilities Act..


       D         The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


       D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       W         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
       D         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

       D         Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAVS of your receipt of this notice; or your right to sue based on this charge will be
lost. {The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission




                                                                                                                            8/18/2021
 Enclosures(s)                                                                                                              (Date Issued}
                                                                   Darrell E. Graham,
                                                                    District Director
 cc:
            Larry.Wexler, Esq.
            Associate General Counsel
            1030 Delta Blvd.
            Department 981
            Atlanta, GA 30354
